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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MILLENNIUM PHARMACEUTICALS, INC.

                       Plaintiff,
                                                       Civil Action No. 1:13-cv-8240
v.
                                                       Judge Milton I. Shadur
APOTEX CORP. and APOTEX INC.,

                       Defendants.



                           NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff Millennium

Pharmaceuticals, Inc. hereby voluntarily dismisses its complaint in this action against

Defendants Apotex Corp. and Apotex Inc. without prejudice. Defendants have not served an

answer or a motion for summary judgment. This dismissal is entered in view of Apotex Inc.’s

indication that it will not contest personal jurisdiction or venue in case no. 1:13-cv-1874

currently pending in the District of Delaware.




                                              Respectfully submitted,

Date: December 11, 2013               By:     /s/ Kirsten L. Thomson
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